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 1   SEYFARTH SHAW LLP
     Justin T. Curley (SBN 233287)
 2   jcurley@seyfarth.com
     560 Mission Street, 31st Floor
 3   San Francisco, California 94105
     Telephone:      (415) 397-2823
 4   Facsimile:      (415) 397-8549
 5   SEYFARTH SHAW LLP
     Autumn L. Moore (SBN 274209)
 6   amoore@seyfarth.com
     2029 Century Park East, Suite 3500
 7   Los Angeles, California 90067-3021
     Telephone:     (310) 277-7200
 8   Facsimile:     (310) 201-5219
 9   Attorneys for Defendant
     ABBOTT LABORATORIES
10
     FLETCHER B. BROWN LAW FIRM
11   Fletcher B. Brown (SBN 276390)
     fletcher@fletcherbrown.law
12   2831 Telegraph Avenue
     Oakland, CA 94609
13
     Attorney for Plaintiff DANIEL LEWIS
14

15
                                       UNITED STATES DISTRICT COURT
16
                                     EASTERN DISTRICT OF CALIFORNIA
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      DANIEL LEWIS,                                   Case No. 2:23-CV-01896-DJC-CKD
18
                        Plaintiff,                    ORDER RE: JOINT STIPULATION
19                                                    OF DISMISSAL WITH PREJUDICE
               v.                                     PURSUANT TO FED. R. CIV. P.
20                                                    41(A)(1)(A)-(B)
      ABBOTT LABORATORIES; and DOES 1-20,
21    inclusive,
                                                      Complaint Filed: 7/21/2023
22                      Defendants.                   Removal Filed: 9/01/2023
                                                      Trial Date:      05/05/2025
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                        ORDER RE: JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
     311124903v.1
             Case 2:23-cv-01896-DJC-CKD Document 14 Filed 06/21/24 Page 2 of 2


 1                                                     ORDER
 2            Based on the parties’ Stipulation of Dismissal, it is hereby ORDERED that:
 3            1.     All claims in the above-captioned action are dismissed in their entirety with prejudice;
 4   and
 5            2.     Each party is to bear its own fees and costs.
 6

 7            IT IS SO ORDERED.
 8
     Dated: June 21, 2024                                  /s/ Daniel J. Calabretta
 9
                                                           THE HONORABLE DANIEL J. CALABRETTA
10                                                         UNITED STATES DISTRICT JUDGE
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                          ORDER RE: JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
     311124903v.1
